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5
6                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
7
8      UNITED STATES OF AMERICA,      )
                                      ) NO. CR-07-2066-LRS-2
9             Plaintiff,              )      (CV-14-3027-LRS)
                                      ) NO. CR-07-2065-LRS-1
10       v.                           )      (CV-14-3026-LRS)
                                      ) NO. CR-07-2063-LRS-1
11     GLEN RAY BRIGGS,               )      (CV-14-3024-LRS)
                                      ) NO. CR-07-2114-LRS-1
12                                    )      (CV-14-3025-LRS)
              Defendant.              )
13                                    ) ORDER DISMISSING
                                      ) 28 U.S.C. §2255 MOTIONS
14                                    )
       ______________________________ )
15
                BEFORE THE COURT are Defendant’s consolidated 28 U.S.C. §2255
16
       Motions (ECF No. 341 filed in CR-07-2066-LRS-2; ECF No. 213 filed in CR-
17
       07-2065-LRS-1; ECF No. 509 filed in CR-07-2063-LRS-1; and ECF No. 419
18
       filed in CR-07-2114-LRS-1).1
19
                §2255 provides in relevant part:
20
                       Unless the motion and the files and records of the case
21                     conclusively show that the prisoner is entitled to no
                       relief, the court shall cause notice thereof to be served
22                     upon the United States attorney, grant a prompt hearing
                       thereon, determine the issues and make findings of fact
23                     and conclusions of law with respect thereto.
24     Here, the motions and the files and records of the cases conclusively show the
25     Defendant is entitled to no relief.
26
27        1
              Identical §2255 motions were filed in all 4 cases.
28
       ORDER DISMISSING
       §2255 MOTIONS -                           1
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1            Defendant was ultimately charged in four separate indictments
2      containing a total of eight counts. The two most serious counts related to the
3      conspiracy to rob the fictional stash house: Briggs was charged with conspiracy
4      to possess with intent to distribute cocaine and methamphetamine and
5      conspiracy to possess a firearm in connection with a drug trafficking crime. Of
6      the remaining six counts, four charged Briggs with completed sales of
7      methamphetamine, and two charged him with conspiracy to escape and
8      attempted escape from federal prison. On April 6, 2008, Defendant Briggs pled
9      guilty to a host of drug-related charges. Six months later, with a new lawyer
10     and a change of heart, Defendant Briggs filed a motion to withdraw his plea of
11     guilty. This court denied the motion and eventually sentenced Briggs to 324
12     months imprisonment. Briggs timely appealed. The Ninth Circuit Court of
13     Appeals affirmed Briggs’ convictions, but vacated his sentence and remanded
14     to the district court for re-sentencing based on the court’s application of the
15     §2D1.1(b)(1) enhancement found to be in error. The Mandates were filed
16     October 19, 2010. (ECF No. 415 in CR-07-2063-LRS-1; ECF No. 344 in
17     CR-07-2114-LRS-1; ECF No. 262 in CR-07-2066-LRS-2; and ECF No. 140 in
18     CR-07-2065-LRS-1). On December 16, 2011, Defendant was re-sentenced in
19     CR-07-2066-LRS-2 to 240 months on Count 1; 240 months on Count 2,
20     concurrent and concurrent with the sentences imposed in CR-07-02063-LRS- l,
21     CR-07-02065-LRS-2 and CR-07-02114-LRS- l . Defendant was also
22     sentenced in CR-07-2114-LRS-1 to 60 months on Count 1s (Conspiracy to
23     Escape); 60 months on Count 2s (Attempted Escape), concurrent with the
24     sentences imposed in CR-07-02063-LRS- l , CR-07-02065-LRS-2 , and
25     CR-07-2066-LRS-2.
26           The Ninth Circuit Court of Appeals affirmed Defendant’s convictions
27     and issued its Mandates on November 9, 2012 (ECF No. 412 in CR-07-2114-
28
       ORDER DISMISSING
       §2255 MOTIONS -                         2
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1      LRS-1; ECF No. 502 in CR-07-2063-LRS-1; ECF No. 329 in CR-07-2066-
2      LRS-2; and ECF No. 329 in CR-07-02065-LRS-2).
3               Defendant states in his §2255 motions that his “petition for a writ of
4      certiorari was denied or expired on January 17, 2014.” The court, however,
5      cannot independently ascertain that he has filed a petition for certiorari or that
6      such has been denied. It would appear that on February 7, 2013, Mr. Briggs’
7      convictions became final.
8               Defendant’s §2255 motions are deemed filed as of February 25, 2014.2
9      Defendant's §2255 motions were filed within the time extension granted by the
10     Court based upon Petitioner's request and a finding of good cause. (A district
11     court has authority to raise the statute of limitations sua sponte. Herbst v.
12     Cook, 260 F.3d 1039 (9th Cir. 2001)). An extension was granted on February
13     24, 2014 for 30 days based on Defendant’s motions for extensions filed on
14     October 23, 2013 and February 11, 2014. (ECF No. 212 in CR-07-2065-LRS-
15     2; ECF No. 338 in CR-07-2066-LRS-2; ECF No. 508 in CR-07-2063-LRS-1;
16     and ECF No. 418 in CR-07-2114-LRS-1).
17              Defendant’s §2255 motions, “Statement of Facts/Affidavits” and exhibits
18     (Defendant included a copy of the plea agreement with his handwritten
19     commentaries inserted) filed in support of his petitions, for the most part,
20     merely reiterate arguments which his counsel presented to this court and to the
21     Ninth Circuit Court of Appeals. See this court’s February 2, 2009 “Order
22
23
          2
              Under the "mailbox rule," a pro se habeas petition is deemed filed at the
24
      moment the prisoner delivers it to prison authorities. Saffold v. Newland, 250
25
26    F.3d 1262, 1268 (9th Cir. 2001), overruled on other grounds by, Carey v.

27      Saffold, 536 U.S. 214 (2002).
28
       ORDER DISMISSING
       §2255 MOTIONS -                          3
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1      Denying Defendant’s Motion To Withdraw Plea and Resetting Sentencing
2      Hearing,” (ECF No. 216 in CR-07-2066-LRS-23), filed after a psychological
3      exam was performed and a report prepared on January 22, 2009; this court’s
4      January 28, 2011 “Order Re Sentencing and Briefing Schedule” (ECF No. 274
5      in CR-07-2066-LRS-2); this court’s December 23, 2011 “Order Granting
6      Motion to Withdraw as Counsel” (ECF No. 315 in CR-07-2066-LRS-2); and
7      the Ninth Circuit’s slip opinion (ECF No. 261 in CR-07-2066-LRS-2), filed
8      September 27, 2010 after Defendant’s first appeal; and the Ninth Circuit’s slip
9      opinion/Memorandum (ECF No. 328 in CR-07-2066-LRS-2) filed October 17,
10     2012 after Defendant’s second appeal.
11                       Sole Ground: Ineffective Assistance of Counsel
12              Defendant Briggs is challenging all four attorneys that provided
13     representation to him for ineffective assistance of counsel at the following
14     stages: preliminary hearing, arraignment and plea, sentencing and appeal.
15              Defendant asserts that on April 6, 2008 Mr. Gardner misinformed and
16     misadvised him as to the law and mislead him to believe that if he plead guilty
17     to all counts in four separate indictments and waived his rights to challenge
18     those guilty pleas, that he would not be held accountable for any sentencing
19     enhancements for leadership role or drug amounts derived from the fantasy
20     stash house robbery. ECF No. 213 at 15.
21              Defendant further asserts that Mr. Gardner misinformed, misadvised and
22     mislead him to believe that if he was held accountable to the fantasy stash
23     house amounts that he would ultimately be able to raise the sentencing
24     entrapment defense and would prevail on appeal. Defendant states he thought
25     this meant that his sentence would range be 120 to 210 months. Id.
26
27        3
              Identical orders were filed in the other 3 above-identified cases.
28
       ORDER DISMISSING
       §2255 MOTIONS -                           4
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1      Defendant then states that his new attorney Mr. Alden attempted to withdraw
2      his plea and indicated to Mr. Briggs that it would have been better to proceed
3      to trial because it would have been reasonably probable that a jury would have
4      found that the stash house robbery was outside of Briggs’ capability of
5      committing. Id. at 16. Defendant further suggests that he should have had a
6      chance to testify before a jury. Id. Additionally, Defendant complains that his
7      guilty plea foreclosed the sentencing entrapment affirmative defense. Id.
8            Defendant also suggests that his fourth attorney at sentencing, Mr.
9      Matheson, had to present facts that should have been presented at trial or prior
10     to his plea. In particular, the fact that Mr. Briggs was only stringing the
11     undercover agent along because he didn’t want to lose him as a drug buying
12     customer to ensure he could keep getting high. Id. Defendant further argues
13     that in spite of the true facts that were never presented due to the guilty plea
14     that should not have been entered, the court held him accountable to nearly all
15     of the stash house drug amounts or enhancements, which resulted in a
16     sentencing range above 120-210 months, or more specifically, 240 months. Id.
17           Defendant concludes “that his guilty plea, factual basis, and waiver was,
18     unknowingly, unintelligently and unvoluntarily [sic] obtained based on the
19     misrepresentations, misadvise, and misleadings of Attorney Gardner.” Id. at
20     17. Defendant asserts that had he been counseled properly as to the legal
21     ramifications of his plea he would have elected to just go to trial to properly
22     testify or show that he was incapable of consummating the preposed [sic]
23     robbery or that it was not within his ambition or means to commit . . . and that
24     he was simply entrapped. Id. Defendant argues that had he proceeded to trial,
25     it is reasonably probable that he would not have been found guilty or have been
26     held accountable for the stash house drugs. Defendant further argues that even
27     if he had been convicted at trial, he would have prevailed on appeal and would
28
       ORDER DISMISSING
       §2255 MOTIONS -                         5
     Case 2:07-cr-02066-LRS    ECF No. 390    filed 08/22/14   PageID.1472 Page 6 of 10



1      have been sentenced at a level 26 with no more than 120-210 months. Id.
2            Defendant did attempt to withdraw his plea before this court and the
3      Ninth Circuit. This court found, with the benefit of a psychological report
4      requested by defense counsel and prepared by Mark Mays, Ph.D., J.D. on
5      January 22, 2009 as well as briefing from both the government and Defendant,
6      that Mr. Briggs failed to meet his burden of persuasion of showing that “fair
7      and just” reasons existed for withdrawal of his plea. The Ninth Circuit affirmed
8      the district court’s determination:
9                   [3] Our review of the record, however, has uncovered
                    no evidence that Briggs was incapable of
10                  understanding his guilty plea. Although he has an IQ
                    of 70, a psychological evaluation found that he had
11                  “the capacity to make a knowing decision” about his
                    plea. In fact, Briggs discussed in detail with the
12                  psychologist his own calculation of the sentence he
                    faced, the good-behavior time he expected to accrue,
13                  and the ultimate period of incarceration that would
                    result. Contrary to Briggs’ assertions, his
14                  understanding of the consequences of his guilty plea
                    appears to have been quite sophisticated.
15
                    [4] The transcript of the plea colloquy confirms that
16                  Briggs understood the plea agreement. He responded
                    to the district court’s questions and asked questions of
17                  his own when he did not understand the point the
                    district court made. He also admitted to the factual
18                  allegations in the plea agreement, and indicated that
                    he was satisfied with his lawyer’s representation. We
19                  take the district court’s detailed colloquy with Briggs
                    as strong evidence that Briggs understood the
20                  meaning of his actions.   See United States v. Ross, 511
                    F.3d 1233, 1236 (9th Cir. 2008) (“Statements made by
21                  a defendant during a guilty plea hearing carry a strong
                    presumption of veracity in subsequent proceedings
22                  attacking the plea.”).
23                  [5] Briggs’ true complaint is not that he lacked the
                    capacity to understand his guilty plea, but that he
24                  misunderstood the severity of the sentence that he
                    faced. Briggs contends that he expected to receive a
25                  sentence of approximately 200 months’ imprisonment
                    when he entered his guilty plea. It was not until the
26                  Pre-Sentence Report calculated a Guidelines range of
                    360 months to life that he realized he faced a sentence
27                  nearly twice as long as the one he expected.
28
       ORDER DISMISSING
       §2255 MOTIONS -                        6
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1
2                   [6] We have previously expressed skepticism at the
                    proposition that a defendant may change his plea
3                   solely because he underestimated the severity of the
                    sentence he faced. See Shah v. United States, 878
4                   F.2d 1156, 1162 (9th Cir. 1989) (“Nor do we believe
                    that fear of receiving a harsh sentence, standing
5                   alone, constitutes a ‘fair and just’ reason to withdraw
                    a plea, even if counsel’s initial advice as to length of
6                   plea turned out to be inaccurate.”). While we have on
                    occasion allowed a defendant to change his plea for
7                   such a reason, we have done so only in exceptional
                    circumstances. See United States v. Davis, 428 F.3d
8                   802, 805-08 (9th Cir. 2005) (allowing withdrawal of
                    guilty plea where defendant’s counsel “grossly
9                   mischaracterized” the defendant’s possible sentence
                    by telling him he was likely to get probation, rather
10                  than the eight-years’ imprisonment the government
                    was seeking).
11
                    [7] Briggs’ case is of a different nature than Davis. He
12                  acknowledges that he expected a sentence in the
                    range of 200 months at the time he pled guilty. He
13                  was therefore aware that he faced a substantial term
                    of incarceration. Further, while he made conclusory
14                  allegations of inadequate legal advice before the
                    district court, he failed to substantiate those
15                  allegations in any way. Accordingly, we conclude that
                    the district court did not abuse its discretion in
16                  denying Briggs’ motion. No intervening event
                    occurred that would constitute a “fair and just” reason
17                  for Briggs’ change of heart. To the contrary, it
                    appears that Briggs only wanted to change his plea
18                  once he was face-to-face with the full consequences
                    of his conduct. FN 2.
19
                 FN. 2 We also reject Briggs’ contention that the plea
20               agreement “seriously overstates” his criminal
                 conduct. His brother was convicted by a jury of
21               identical charges, and it is undisputed that Briggs, as
                 the ringleader of the conspiracy, was far more
22               culpable for the crimes they committed.
       ECF No. 139 at 8-9 in CR-07-2065-LRS-1.
23
24           Although the Ninth Circuit found some credence to the theory behind
25     Defendant’s sentencing entrapment argument, the Ninth Circuit held that
26     Briggs’ guilty plea, that was found to be voluntarily and knowingly entered
27     into, foreclosed Briggs from raising such a claim. As to this issue, the Ninth
28
       ORDER DISMISSING
       §2255 MOTIONS -                        7
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1      Circuit explained:
2                [11] In this case, however, we conclude that Briggs’
                 guilty plea forecloses him from raising this claim. Cf.
3                United States v. Dickey, 924 F.2d 836, 839 (9th Cir.
                 1991) (“[A]t least where a defendant pleads guilty to
4                an offense, we see no warrant for the argument that
                 governmental . . . misconduct should mitigate the
5                sentence of an admittedly guilty defendant.” (internal
                 quotation marks and alteration omitted)). In his plea
6                agreement Briggs admitted that the conspiracy he was
                 charged with involved “at least 5 kilograms but less
7                than 15 kilograms of methamphetamine and at least
                 15 kilograms but less than 50 kilograms of cocaine.”
8                Thus, he fully admitted to the drug quantities on
                 which his sentence was based. Further, Briggs made
9                no effort before the district court to show that he was
                 incapable of consummating the proposed robbery.
10               Because we have not been presented with any such
                 evidence and because Briggs admitted to the charged
11               drug quantities, we reject Briggs’ bare assertion that
                 he was the victim of sentencing entrapment.
12     ECF No. 139 at 11 in CR-07-2065-LRS-1.
13           Finally, Defendant’s conclusory opinion that had he proceeded to trial, it
14     is “reasonably probable that he would not have been found guilty” holds little
15     weight given that his brother Michael Briggs was convicted by a jury of
16     identical charges and Defendant was more culpable for the crimes they
17     committed. For instance, the evidence established that Defendant Glen Briggs
18     was the point of contact with the undercover federal agents, that he brought
19     together his brother and co-Defendant Mora, and that, to the extent guns were
20     to be involved, he arranged to acquire them. This court finds that counsel did
21     not render ineffective assistance by allowing the Defendant to enter a guilty
22     plea instead of proceeding to trial.
23           In a §2255 motion based on ineffective assistance of counsel, the movant
24     must prove: (1) counsel’s performance was deficient, and (2) movant was
25     prejudiced by such deficiency. Strickland v. Washington, 466 U.S. 668, 687,
26     104 S.Ct. 2052 (1984). As to the first prong, there is a strong presumption
27     defense counsel’s performance was sufficiently effective. Id. at 689. Petitioner
28
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       §2255 MOTIONS -                        8
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1      must show his counsels' performance was "outside the wide range of
2      professionally competent assistance." Id. at 690. Tactical decisions of trial
3      counsel deserve deference when: (1) counsel in fact bases trial conduct on
4      strategic considerations; (2) counsel makes an informed decision based on
5      investigation; and (3) the decision appears reasonable under the circumstances.
6      Thompson v. Calderon, 86 F.3d 1509, 1515-16 (9th Cir. 1996), citing Sanders
7      v. Ratelle, 21 F.3d 1446, 1456 (9th Cir. 1994).
8             The issue is whether a reasonable defendant would have insisted on
9      going to trial in these circumstances. Given the overwhelming evidence against
10     Defendant, it is objectively unreasonable to infer that he would have rejected
11     the plea agreement, which conferred a significant benefit on him, and risk
12     instead facing certain prosecution and likely conviction in four separate
13     indictments containing a total of eight counts.
14           Here, the performance of Defendant’s counsel was not deficient. It was
15     not outside the wide range of professionally competent assistance. Counsels’
16     tactical decisions deserve deference because the record indicates they made
17     informed decisions based on investigation which appear reasonable under the
18     circumstances. Defendant Briggs was not prejudiced by his trial counsel's
19     ineffective assistance in failing to inform him that if he pled guilty he would
20     not be eligible to use the sentencing entrapment theory, despite Defendant’s
21     contentions. Finally, Defendant has not shown that a reasonable probability
22     exists that the outcome of his cases would have been different if his attorney(s)
23     had given the assistance that Defendant suggests they should have provided.
24     The sentencing judge considered but rejected the entrapment argument raised at
25     sentencing by defense counsel. The sentencing judge found there was no
26     evidence provided to the court suggesting Defendant was reluctant to go
27     forward at any time. ECF No. 242 at 23-24, filed in CR-07-2066-LRS-2. The
28
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       §2255 MOTIONS -                        9
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1       ineffectiveness claims are without merit.
2             Accordingly, Defendant’s §2255 Motions (ECF No. 341 filed in
3       CR-07-2066-LRS-2; ECF No. 213 filed in CR-07-2065-LRS-1; ECF No. 509
4       filed in CR-07-2063-LRS-1; ECF No. 419 filed in CR-07-2114-LRS-1) are
5       DISMISSED with prejudice. Defendant’s Request to Dismiss the Indictment,
6       ECF No. 511, filed in CR-07-2063-LRS-1 is DENIED as MOOT.
7             Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases, this
8       court declines to issue a certificate of appealability as Defendant has not made
9       a substantial showing of the denial of a constitutional right. 28 U.S.C. §
10      2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 484-85 (2000).
11            IT IS SO ORDERED. The District Executive shall forward copies of
12      this order to the Defendant.
13            DATED this        22     of August, 2014.
14
15                                      s/Lonny R. Suko
16                                     LONNY R. SUKO
                                  Senior United States District Judge
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        ORDER DISMISSING
        §2255 MOTIONS -                        10
